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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
______________________________________
                                       )
HEALTH REPUBLIC INSURANCE              )
COMPANY,                               )
                                       )
                  Plaintiff,           )   No. 16-259
                                       )
            v.                         )   Filed: March 20, 2023
                                       )
THE UNITED STATES,                     )
                                       )
                  Defendant.           )
______________________________________ )
                                       )
COMMON GROUND HEALTHCARE               )
COOPERATIVE,                           )
                                       )
                  Plaintiff,           )   No. 17-877
                                       )
            v.                         )   Filed: March 20, 2023
                                       )
THE UNITED STATES,                     )
                                       )
                  Defendant.           )
______________________________________ )

                                           ORDER

       The Court will hold a telephone status conference in the above-captioned matters on

Tuesday, March 21, 2023, at 1:00 p.m. Eastern Time to discuss the issues raised in Plaintiff’s

recent motions for status conference. See Health Republic, ECF No. 184; Common Ground, ECF

No. 176. The parties have been provided with the dial-in information.

       SO ORDERED.



Dated: March 20, 2023                                     /s/ Kathryn C. Davis
                                                          KATHRYN C. DAVIS
                                                          Judge
